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                                                               Apr 16, 2024

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       3.      In Proclamation 9994 of March 13, 2020, the United States President declared the

ongoing COVID-19 pandemic of sufficient severity and magnitude to warrant an emergency

declaration for all states, tribes, territories, and the District of Columbia.

        4.     Individuals sought COVID-19 testing for a variety of reasons, including for

diagnosis when suffering from COVID-19 symptoms, and in advance of engaging in certain

activities, like airplane travel and planned contact with others who, due to age or health

conditions, were at higher risk of death or severe illness from COVID-19. Individuals often

needed their test results within a short period of time before engaging in such activities.

        5.      On or around April 10, 2023, the United States President signed a joint resolution

from the U.S. Congress to terminate the national emergency declared in Proclamation 9994 of

March 13, 2020.

                      United States Food & Drug Administration ("FDA")
                                 Emergency-Use Authorization

        6.      Emergency Use Authorization ("EUA") authority allowed the FDA to help

strengthen the nation's public health protections against chemical, biological, radiological, and

nuclear ("CBRN") threats including infectious diseases, by facilitating the availability and use of

medical countermeasures needed during public health emergencies.

        7.      Under Section 564 of the Federal Food, Drug, and Cosmetic Act ("FD&C Act"),

Title 21, United States Code, Section 360bbb-3, when the Secretary of HHS declared that an

emergency use authorization is appropriate, the FDA was permitted to authorize unapproved

medical products or unapproved uses of approved medical products to be used in an emergency to

diagnose, treat, or prevent serious or life-threatening diseases or conditions caused by CBRN threat

agents when certain criteria were met, including when there were no adequate, approved, and

available alternatives.

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       8.     On February 4, 2020, the Secretary of HHS determined that there was a public

health emergency that had a significant potential to affect national security or the health and

security of United States citizens living abroad and that involved COVID-19. Based on that

determination, the Secretary of HHS also declared that circumstances existed justifying the

authorization of emergency use of in vitro diagnostics for detection and/or diagnosis of COVID-

19, subject to the terms of any authorization issued pursuant to the FD&C Act.

       9.      Throughout the pandemic, various in vitro tests to detect COVID-19 were

developed. This included COVID-19 polymerase chain reaction ("PCR") tests and COVID-19

antigen tests (collectively, "COVID-19 testing"). COVID-19 PCR tests were a type of nucleic

acid amplification test, which were more likely to detect the virus than antigen tests. COVID-19

PCR samples were usually taken by a health care provider and transported to a laboratory for

testing. It could take up to 3 days to receive COVID-19 PCR results. COVID-19 antigen tests

were rapid tests that usually produced results in 15-30 minutes.

                                       Medicare Program

       10.     The Medicare Program ("Medicare") was a federally funded program that provided

free or below-cost health care benefits to certain individuals, primarily the elderly, blind, and

disabled. The benefits available under Medicare were governed by federal statutes and regulations.

HHS, through its agency, the Centers for Medicare and Medicaid Services ("CMS"), oversaw and

administered Medicare. Individuals who received benefits under Medicare were commonly

referred to as Medicare "beneficiaries."

       11.     Medicare was a "health care benefit program," as defined by Title 18, United States

Code, Section 24(b).

       12.     Medicare covered different types of benefits and was separated into different


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program "parts." Medicare "Part B" was a medical insurance program that covered, among other

things, medical services provided by physicians, medical clinics, laboratories, and other qualified

health care providers, such as office visits, minor surgical procedures, and laboratory testing, that

were medically necessary and ordered by licensed medical doctors or other qualified health care

providers.

        13.    Physicians, clinics, and other health care providers, including laboratories, that

provided services to beneficiaries were able to apply for and obtain a "provider number." A health

care provider that received a Medicare provider number was able to file claims with Medicare to

obtain reimbursement for services provided to beneficiaries.

        14.    A Medicare claim was required to contain certain important information, including:

(a) the beneficiary's name and Health Insurance Claim Number ("HICN"); (b) a description of the

health care benefit, item, or service that was provided or supplied to the beneficiary; (c) the billing

codes for the benefit, item, or service; (d) the date upon which the benefit, item, or service was

provided or supplied to the beneficiary; and (e) the name of the referring physician or other health

care provider, as well as a unique identifying number, known either as the Unique Physician

Identification Number ("UPIN") or National Provider Identifier ("NPI"). The claim form could

be submitted in hard copy or electronically via interstate wire. When submitting claims to

Medicare for reimbursement, providers were required to certify that: (a) the contents of the forms

were true, correct, and complete; (b) the forms were prepared in compliance with the laws and

regulations governing Medicare; and ( c) the items and services that were purportedly provided, as

set forth in the claims, were medically necessary.




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       15.     Medicare claims were required to be properly documented in accordance with

Medicare rules and regulations. Medicare would not reimburse providers for claims that were

procured through the payment of kickbacks and bribes.

                                 Medicare Part B Enrollment

       16.     CMS acted through fiscal agents called Medicare administrative contractors

("MACs"), which were statutory agents for CMS for Medicare Part B. The MACs were private

entities that reviewed claims and made payments to providers for services rendered to

beneficiaries. The MACs were responsible for processing Medicare claims arising within their

assigned geographical area, including determining whether the claim was for a covered service.

       17.     Novitas Solutions Inc. (''Novitas") was the MAC for the consolidated Medicare

jurisdictions that covered Arkansas, Colorado, New Mexico, Oklahoma, Texas, Louisiana, and

Mississippi.

       18.     To receive Medicare reimbursement, providers had to make appropriate

applications to the MAC and execute a written provider agreement. The Medicare provider

enrollment application, CMS Form 855B, was required to be signed by an authorized

representative of the provider. CMS Form 855B contained a certification that stated:

               I agree to abide by the Medicare laws, regulations, and program
               instructions that apply to this provider. The Medicare laws,
               regulations, and program instructions are available through the
               Medicare contractor. I understand that payment of a claim by
               Medicare is conditioned upon the claim and the underlying
               transaction complying with such laws, regulations and program
               instructions (including, but not limited to, the federal anti-kickback
               statute and the Stark law), and on the provider's compliance with all
               applicable conditions of participation in Medicare.

       19.     CMS Form 855B contained additional certifications that the provider "will not

knowingly present or cause to be presented a false or fraudulent claim for payment by Medicare


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and will not submit claims with deliberate ignorance or reckless disregard of their truth or falsity."

       20.     Payments under Medicare Part B were often made directly to the health care

provider rather than to the beneficiary. For this to occur, the beneficiary would assign the right of

payment to the health care provider. Once such an assignment took place, the health care provider

would assume the responsibility for submitting claims to, and receiving payments from, Medicare.

                      Medicare Part B Coverage for Diagnostic Laboratory Tests

        21.    Medicare did not cover diagnostic testing that was "not reasonable and necessary

for the diagnosis or treatment of illness or injury or to improve the functioning of a malformed

body member." 42 U.S.C. § 1 395y(a)(l)(A). Except for certain statutory exceptions, Medicare

did not cover "examinations performed for a purpose other than treatment or diagnosis of a·specific

illness, symptoms, complaint or injury." Medicare did not cover COVID-19 tests that were not

FDA-authorized.

        22.    If diagnostic testing was necessary for the diagnosis or treatment of illness or injury

or to improve the functioning of a malformed body member, Medicare imposed additional

requirements before covering the testing. "All diagnostic x-ray tests, diagnostic laboratory tests,

and other diagnostic tests must be ordered by the physician who is treating the beneficiary, that is,

the physician who furnishes a consultation or treats a beneficiary for a specific medical problem

and who uses the results in the management of the beneficiary's specific medical problem." 42

U.S.C. § 410.32(a). "Tests not ordered by the physician who is treating the beneficiary are not

reasonable and necessary." Id

        2 3.   Additionally, "[d]uring the Public Health Emergency for COVID-19, ...the order

of a physician or other applicable practitioner is not required for one otherwise covered diagnostic

laboratory test for COVID-19 .... Subsequent otherwise covered COVID-19 and related tests


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described in the previous sentence are reasonable and necessary when ordered by a physician or

nonphysician practitioner in accordance with this paragraph (a) ...." 42 U.S.C. § 410.32(a)(3).

                               The HRSA Uninsured Program

       24.    The Families First Coronavirus Response Act ("FFCRA") was a federal law

enacted on or about March 14, 2020, as part of the federal government's initial response to the

then-emerging COVID-19 pandemic.

       25.    The FFCRA, among other things, appropriated funds to reimburse the cost of

providing diagnostic testing and services for COVID-19 in individuals without health insurance.

These funds, and additional funds appropriated through subsequent legislation for testing,

treatment, and vaccines for uninsured individuals, were distributed through the COVID-19 Claims

Reimbursement to Health Care Providers and Facilities for Testing, Treatment, and Vaccine

Administration for the Uninsured Program ("HRSA COVID-19 Uninsured Program").

       26.     The HRSA COVID-19 Uninsured Program was administered by HHS through its

agency, the Health Resources and Services Administration ("HRSA"). HRSA contracted with

UnitedHealth Group, a private insurance company, to handle claims administration and payments,

which UnitedHealth Group performed through its unit Optum Health. Reimbursements by HRSA

were provided on a rolling basis directly to eligible providers, including laboratories. The HRSA

COVID-19 Uninsured Program was a "health care benefit program," as defined in Title 18, United

States Code, Section 24(b), in that it was a public plan or contract affecting commerce.

       27.     To receive reimbursement under the HRSA COVID-19 Uninsured Program, a

provider was required to attest to compliance with the Terms and Conditions of the program. The

terms and conditions required the provider to submit truthful claims, with respect to uninsured

individuals, for: (1) COVID-19 testing, which was defined as a test for the detection of SARS-


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CoV-2 or the diagnosis of the virus that causes COVID-19, and/or testing-related items and

services such as an office visit or a telehealth visit that resulted in the administration ofa COVID-

19 test; (2) care or treatment related to positive diagnoses of COVID-19, where COVID-19 was

the primary reason for treatment; or (3) administering a COVID-19 vaccination. Services not

covered by traditional Medicare were also not covered under the HRSA COVID-19 Uninsured

Program.

        28.     Providers seeking reimbursement under the HRSA COVID-19 Uninsured Program

were required to enroll as a provider participant, check to ensure that patients were uninsured,

 submit claims and patient information electronically, and receive payment through direct deposit.

Reimbursements were generally made at Medicare rates.

        29.     Claims submitted electronically to the HRSA COVID-19 Uninsured Program and

payments made from the HRSA COVID-19 Uninsured Program were transmitted through

interstate wires.

                        The Defendants, Related Entities and Relevant Persons

        30.     Innovative Genomics LLC ("IGX"), a limited liability company formed under the

laws of Texas, was a laboratory that purportedly provided COVID-19 PCR and other forms of

laboratory testing.

        31.     Defendant ENRIQUE PEREZ-PARIS, a resident ofMiami-Dade County, Florida,

was an owner, manager, and operator ofIGX.

        32.     Defendant DIEGO SANUDO SANCHEZ CHOCRON, a resident ofLos Angeles

County, California, was an owner, manager, and operator ofIGX.

        33.     Defendant GREGORY CHARLES MILO CASKEY, a resident ofBexar County,

Texas, was an owner, manager, and operator ofIGX.


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            34.    Nikita Hennesman, a current resident ofBexar County, Texas, and former resident

ofMiami-Dade County, Florida, was an owner, manager, and operator ofIGX.

            35.    Company 1 was a company incorporated under the laws of Florida, with its

principal place ofbusiness in Miami-Dade County, Florida.

            36.    Co-Conspirator 1, a resident of Miami-Dade County, Florida, was an owner,

manager, and operator of Company 1.

                                           COUNTl
                     Conspiracy to Commit Health Care Fraud and Wire Fraud
                                       (18 u.s.c. § 1349)

            1. •   The General Allegations section of this Indictment is re-alleged and incorporated

 by reference as though fully set forth herein.

            2.     From in or around November 2019, and continuing through in or around June 2023,

 in Miami-Dade County, in the Southern District ofFlorida, and elsewhere, the defendants,

                                  ENRIQUE PEREZ-PARIS,
                           DIEGO SANUDO SANCHEZ CHOCRON, and
                             GREGORY CHARLES MILO CASKEY,

 did knowingly and willfully, that is, with the intent to further the objects of the conspiracy,

 combine, conspire, confederate, and agree with each other, Nikita Hennesman, Co-Conspirator 1,

 and others known and unknown to the Grand Jury, to commit offenses against the United States,

 that is:

            a.     to knowingly and willfully execute a scheme and artifice to defraud health care

 benefit programs affecting commerce, as defined in Title 18, United States Code, Section 24(b),

 including Medicare and the HRSA COVID-19 Uninsured Program, and to obtain, by means of

 materially false and fraudulent pretenses, representations, and promises, money and property

 owned by, and under the custody and control of, said health care benefit programs, in connection


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 with the delivery of and payment for health care benefits, items, and services, in violation of Title

 18, United States Code, Section 1347; and

        b.      to knowingly, and with the intent to defraud, devise, and intend to devise, a scheme

 and artifice to defraud, and for obtaining money and property by means of materially false and

 fraudulent pretenses, representations, and promises, knowing the pretenses, representations, and

 promises were false and fraudulent when made, and for the purpose of executing the scheme and

 artifice, to knowingly transmit and cause to be transmitted by means of wire communication in

 interstate and foreign commerce, certain writings, signs, signals, pictures, and sounds, in violation

 of Title 18, United States Code, Section 1343.

                                     Purpose of the Conspiracy

        3.      It was a purpose of the conspiracy for the defendants and their co-conspirators to

 unlawfully enrich themselves by, among other things: (a) paying and receiving kickbacks and

 bribes in exchange for ordering and arranging for the ordering of PCR testing by IGX, from the

 Southern District of Florida, and elsewhere, so that IGX could bill health care benefit programs

 for COVID-19 testing, without regard to whether the beneficiaries needed the tests or whether the

 tests were eligible for reimbursement; (b) submitting and causing the submission, via interstate

 wire communication, of false and fraudulent claims to health care benefit programs for COVID-

 19 testing that were medically unnecessary and ineligible for reimbursement; (c) concealing the

 submission of false and fraudulent claims to health care benefit programs; and (d) diverting fraud

 proceeds for their personal use and benefit, the use and benefit of others, and to further the fraud.
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                                        Manner and Means

        The manner and means by which the defendants and their co-conspirators sought to

 accomplish the objects and purpose of the conspiracy included, among other things:

        4.        ENRIQUE PEREZ-PARIS and DIEGO SANUDO SANCHEZ CHOCRON

 enrolled IGX as a provider with Medicare, the HRSA COVID-19 Uninsured Program, and other

 health care benefit programs to receive reimbursements for COVID-19 testing. In these enrollment

 documents, ENRIQUE PEREZ-PARIS and DIEGO SANUDO SANCHEZ CHOCRON listed

 themselves, GREGORY CHARLES MILO CASKEY, and Nikita Hermesman as IGX's owners.

        5.        ENRIQUE PEREZ-PARIS, DIEGO SANUDO SANCHEZ CHOCRON,

 GREGORY CHARLES MILO CASKEY, Nikita Hermesman, and other co-conspirators agreed

 to pay kickbacks and bribes to patient recruiters, including Co-Conspirator 1, for ordering and

 arranging for the ordering of COVID-19 testing by IGX, from the Southern District of Florida, and

 elsewhere, that could be billed to Medicare and the HRSA COVID-19 Uninsured Program. For

 example, DIEGO SANUDO SANCHEZ CHOCRON, through IGX, executed a contract to pay

 approximately $15 for each COVID-19 antigen test and approximately $35 for each COVID-19

 PCR test that Co-Conspirator 1 referred to IGX.

        6.        ENRIQUE PEREZ-PARIS, DIEGO SANUDO SANCHEZ CHOCRON,

 GREGORY CHARLES MILO CASKEY, Nikita Hermesman, Co-Conspirator 1, and other co­

 conspirators recruited health care providers, including doctors, to order repeated COVID-19 PCR

 tests for beneficiaries, even though the health care providers had no prior relationship with the

 beneficiaries, were not treating the beneficiaries for COVID-19 or symptoms of COVID-19,

 sometimes were ineligible to order the tests altogether, and did not use the test results to treat the

 beneficiaries.


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        7.       ENRIQUE P EREZ-PARIS, DIEGO SANUDO SANCHEZ CHOCRON,

GREGORY CHARLES MILO CASKEY, Nikita Hennesman, and other co-conspirators,

 through IGX, billed, and caused to be billed, to Medicare, the HRSA COVID-19 Uninsured

Program, and other health care benefit programs, claims for reimbursement for COVID-19 testing

 but the tests, if performed at all, did not have FDA emergency-use authorization and were not

 reimbursable.

        8.       ENRIQUE PEREZ-PARIS, DIEGO SANUDO SANCHEZ CHOCRON,

 GREGORY CHARLES MILO CASKEY, Nikita Hennesman, and other co-conspirators,

 through IGX, billed, and caused to be billed, to Medicare, the HRSA COVID-19 Uninsured

 Program, and other health care benefit programs, COVID-19 testing that was medically

 unnecessary, never provided, and ineligible for reimbursement.

        9.       ENRIQUE PEREZ-PARIS, DIEGO SANUDO SANCHEZ CHOCRON,

 GREGORY CHARLES MILO CASKEY, Nikita Hennesman, and other co-conspirators,

 through IGX, billed, and caused to be billed, to the HRSA COVID-19 Uninsured Program,

 COVID-19 testing for Medicare beneficiaries despite the HRSA COVID-19 Uninsured Program

 being reserved for individuals who were uninsured.

        10.      ENRIQUE PEREZ-PARIS, DIEGO SANUDO SANCHEZ CHOCRON,

 GREGORY CHARLES MILO CASKEY, Nikita Hennesman, and other co-conspirators caused

 IGX to submit false and fraudulent claims to Medicare and the HRSA COVID-19 Uninsured

 Program, via interstate wire communications, in at least the approximate amount of $36,442,556

 for COVID-19 testing.




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          11.    As the result of these false and :fraudulent claims, Medicare and theHRSA COVID-

 19 Uninsured Program made payments to IGX, via interstate wire transfers, in at least the

 approximate amount of $28,559,820.

          12.    ENRIQUE PEREZ-PARIS, DIEGO SANUDO SANCHEZ CHOCRON,

 GREGORY CHARLES MILO CASKEY, NikitaHermesman, Co-Conspirator 1, and other co­

 conspirators, used the proceeds of the fraud to benefit themselves and others, and to further the

 fraud.

          All in violation of Title 18, United States Code, Section 1349.

                                           COUNTS2-4
                                         Health Care Fraud
                                         (18 u.s.c. § 1347)

          1.     Paragraphs 1-23 and 30-36 of the General Allegations section of this Indictment are

 re-alleged and incorporated by reference as though fully set forth herein.

          2.     From in or around November 2019, and continuing through in or around June 2023,

 in Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendants,

                                  ENRIQUE PEREZ-PARIS,
                           DIEGO SANUDO SANCHEZ CHOCRON, and
                             GREGORY CHARLES MILO CASKEY,

 in connection with the delivery of and payment for health care benefits, items, and services, did

 knowingly and willfully execute, and attempt to execute, a scheme and artifice to defraud a health

 care benefit program a:ffecting commerce, as defmed in Title 18, United States Code, Section

 24(b), that is, Medicare, and to obtain by means of materially false and fraudulent pretenses,

 representations, and promises, money and property owned by, and under the custody and control

 of, said health care benefit program.




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                               Purpose of the Scheme and Artifice

         3.    The Purpose of the Conspiracy section of Count 1 of this Indictment is re-alleged

 and incorporated by reference as though fully set forth herein as a description of the scheme and

 artifice.

                                     The Scheme and Artifice

         4.     The Manner and Means section of Count 1 of this Indictment is re-alleged and

 incorporated by reference as though fully set forth herein as a description of the scheme and

 artifice.

                           Acts in Execution or Attempted Execution
                                   of the Scheme and Artifice

         5.     On or about the dates set forth as to each count below, in Miami-Dade County, in

 the Southern District of Florida, and elsewhere, the defendants,

                                  ENRIQUE PEREZ-PARIS,
                           DIEGO SANUDO SANCHEZ CHOCRON, and
                             GREGORY CHARLES MILO CASKEY,

 in connection with the delivery of and payment for health care benefits, items, and services, did

 knowingly and willfully execute, and attempt to execute, the above-described scheme and artifice

 to defraud a health care benefit program affecting commerce, in that the defendants submitted, and

 caused the submission of, false and fraudulent claims, seeking the identified dollar amounts, and

 representing that such benefits, items, and services were medically necessary, eligible for Medicare

 reimbursement, and provided to beneficiaries as claimed:

                                Approx.                               Description of Claims;
                                                Medicare Claim
      Count     Beneficiary      Date of                              Total Approx. Amount
                                                     No.
                               Submission                                      Billed
                                                                         Infectious Agent
         2          E.P.        04/28/2022    452922118223050        Detection by Nucleic Acid
                                                                              $112.50


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                                 Approx.                               Description of Claims;
                                                  Medicare Claim       Total Approx. Amount
     Count      Beneficiary       Date of              No.
                                Submission                                      Billed
                                                                          Infectious Agent
        3           E.P.        05/05/2022        452922125166000     Detection by Nucleic Acid
                                                                               $112.50
                                                                          Infectious Agent
        4           E.P.        06/16/2022        452922167236150     Detection by Nucleic Acid
                                                                               $112.50

        In violation of Title 18, United States Code, Sections 1347 and 2.

                                          COUNTS
                           Conspiracy to Commit Money Laundering
                                     (18 U.S.C. § 1956(h))

        1.      The General Allegations section of this Indictment is re-alleged and incorporated

 by reference as though fully set forth herein.

        2.      From in or around November 2019, and continuing through in or around June 2023,

 in Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendants,

                                   ENRIQUE PEREZ-PARIS,
                            DIEGO SANUDO SANCHEZ CHOCRON, and
                              GREGORY CHARLES MILO CASKEY,

 did knowingly and voluntarily combine, conspire, confederate, and agree with each other and with

 others, known and unknown to the Grand Jury, to violate Title 18, United States Code, Section

 1956(h), that is, to knowingly engage in a monetary transaction by, through, and to a financial

 institution, affecting interstate and foreign commerce, in criminally derived property of a value

 greater than $10,000, such property having been derived from specified unlawful activity, in

 violation of Title 18, United States Code, Section 1957(a).

        It is further alleged that the specified unlawful activity is conspiracy to commit health care

 fraud and wire fraud, in violation of Title 18, United States Code, Section 1349; and health care

 fraud, in violation of Title 18, United States Code, Section 1347.


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           All in violation of Title 18, United States Code, Section 1956(h).

                                   FORFEITURE ALLEGATIONS

      1.          The allegations of this Indictment are re-alleged and by this reference fully

 incorporated herein for the purpose of alleging forfeiture to the United States of certain property

 in which the defendants, ENRIQUE PEREZ-PARIS, DIEGO SANUDO SANCHEZ

 CHOCRON, and GREGORY CHARLES MILO CASKEY, have ari interest.

           2.     Upon conviction of a violation of Title 18, United States Code, Sections 1349 or

 1347, as alleged in this Indictment, the defendants shall forfeit to the United States any property,

 real or personal, that constitutes or is derived, directly or indirectly, from gross proceeds traceable

 to the commission of the offense, pursuant to Title 18, United States Code, Section 982(a)(7).

           3.     Upon conviction of a violation of Title 18, United States Code, Section 1956(h), as

 alleged in this Indictment, the defendants shall forfeit to the United States any property, real or

 personal, involved in such offense, and any property traceable to such property, pursuant to Title

 18, United States Code, Section 982(a)(l).

           4.     If any of the property subject to forfeiture, as a result of any act or omission of the

 defendants:

                  a. cannot be located upon the exercise of due diligence;

                  b. has been transferred or sold to, or deposited with, a third party;

                  c. has been placed beyond the jurisdiction of the court;

                  d. has been substantially diminished in value; or




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  Defendant's Name: -------=E=N...:..::RI                   -P:....:::A-=RI
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  Case No: _______________________________

  Count#:    1

    Title 18 United States Code Section 1349

   Conspiracy to Commit Health Care Fraud and Wire Fraud
  *Max.Term of Imprisonment: 20 years
  *Mandatory Min. Term of Imprisonment (if applicable): N/A
  *Max. S upervised Release: 3 years
  *Max. Fine: $250,000 or twice the gross gain or loss from the offense

  Counts#:    2 4

    Title 18 United States Code Section 1347

   Health Care Fraud
  *Max. Term of Imprisonment: 10 years
  *Mandatory Min. Term of Imprisonment (if applicable): N/A
  *Max.S upervised Release: 3 years
  *Max. Fine: $250,000 or twice the gross gain or loss from the offense

  Count#:    5

     Title 18, United States Code, Section l 956(h)

     Conspiracy to Commit Money Laundering
  *Max.Term of Imprisonment: 20 years
  *Mandatory Min. Term of Imprisonment (if applicable): N/A
  *Max. S upervised Release: 3 years
  * Max. Fine: $500,000 or twice the value of the property involved in the transaction




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                              UNITED S TATE S D ISTRICT COURT
                              SOUTHERN D ISTRI CT O F FLORIDA


                                          PE NALTY SHEET

  D efendant's Name:   ---=
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                                         =A::..::.::....:
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                                                                                                =R=
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  Case No: _______________________________


  Count#:     1

    Title 18 United States Code Section 1349

   Conspiracy to Commit Health Care Fraud and Wire Fraud
  *Max.Term oflmprisonment: 20 years
  *MandatoryMin. Term of Imprisonment (if applicable): N/A
  *Max.Supervised Release: 3 years
  *Max. Fine: $250,000 or twice the gross gain or loss from the offense

  Counts#:    2-4

   Title 18 United States Code Section 134 7

   Health Care Fraud
  *Max.Term of Imprisonment: 10 years
  *Mandatory Min.Term of Imprisonment (if applicable): N/A
  *Max. Supervised Release: 3 years
  *Max.Fine: $250,000 or twice the gross gain or loss from the offense

  Count#:    5

    Title 18, United States Code, Section 1956(h)

    Conspiracy to Commit Money Laundering
  *Max.Term of Imprisonment: 20 years
  *Mandatory Min. Term of Imprisonment (if applicable): NIA
  *Max. Supervised Release: 3 years
  *Max.Fine: $500,000 or twice the value of the property involved in the transaction




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                                          PENALTY SHEET

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  Case No:    _______________________________

  Count#:     1

    Title 18 United States Code Section 1349

    Conspiracy to Commit Health Care Fraud and Wire Fraud
  * Max.Term of Imprisonment: 20 years
  * Mandatory Min.Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000 or twice the gross gain or loss from the offense

  Counts #:    2-4

    Title 18, United States Code, Section 1347

    Health Care Fraud
  * Max.Term of Imprisonment: 10 years
  * Mandatory Min.Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000 or twice the gross gain or loss from the offense

  Count#:     5

     Title 18, United States Code, Section 1956(h)

     Conspiracy to Commit Money Laundering
  * Max.Term of Imprisonment: 20 years
  * M andatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $500,000 or twice the value of the property involved in the transaction




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
